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UNITED STATES DISTRICT COURT
                                                                                      ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                                         DOC#:                 i

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In re:
                                                                                      DATE FILED:      .3/OJ.. t, If..3
                                                                            Misc. No: 13 Misc. 00099

The Application of Barthelemy Samuel Jean Dessaint
for an Order Pursuant to 28 U.S.C. § 1782                                   STIPULATION AND ORDER
Compelling the Production of
Documents and Testimony by
Christie'S, Inc.
--------------------------------------------------------------------   )(

                WHEREAS, Applicant Barthelemy Samuel Jean Dessaint ("Dessaint") commenced this

proceeding on March 20, 2013 (the"Application") seeking discovery in aid of a lawsuit in Paris

Civil court regarding the estate of Louise Lignel-Dclaroche, originally brought by his father and

continued after his father's death by Dessaint, against his father's uncle, Jean-Charles Lignel,

Case Number RG 05/05939, (the "French Action");

                 WHEREAS, eight paintings from the Louise Lignel-Delaroche Estate were sold at

auction at Christie's, Inc. ("Christie's") on November 8, 2006 and documents and information

probative to the valuation of the estate and Dessaint's stake in the French Action are located with

Christie's in New York;

                 WHEREAS, on March 25,2013, Christie's consented to the issuance of the subpoena

directed to Christie's that was annexed to the Proposed Order and is attached hereto as Exhibit A

(the "Christie's Subpoena") but not to the subpoenas directed to Christie's employees, Karen

Gray and Brooke Lampley;

                WHEREAS, Christie's reserves the right to object to particular requests for documents

listed in Schedule A to the Christie's Subpoena but the parties believe that they can themselves

negotiate any modifications to the Christie's Subpoena governing the scope ofthe documents to

be searched for and produced;




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              WHEREAS, Christie's has agreed to produce documents and to provide an affidavit to

accompany its production of documents;

             WHEREAS, Dessaint has agreed to withdraw his request for a deposition of Christie's

without prejudice to its rights to renew such request in the event that Christie's fails to comply

with the Christie's Subpoena and/or the terms of this Stipulation and Order;

             WHEREAS, the parties request that the hearing on the Order to Show Cause scheduled

for March 27 at 3:30 p.m. be adjourned to April 11 at 11 :30 a.m.; and

             WHEREAS, the parties seek to have such this stipulation ordered by this Court;



             NOW, THEREFORE, AND SUBJECT TO THE APPROVAL OF THE COURT IT IS

HEREBY STIPULATED AND AGREED, between Dessaint and Christie's, by their

undersigned attorneys, that:

                          (1)      Dessaint be permitted to serve the Christie's Subpoena attached hereto as

Exhibit A;

                          (2)      Subject to and without waiving its objections to the Christie's Subpoena,

Christie's (a) shall begin producing documents responsive to the Christie's Subpoena by April 1,

2013; (b) shall make its best efforts to substantially complete the production of documents

responsive to the Christie's Subpoena by April 8, 2013 ; (c) shall provide an affidavit to

accompany its production of documents responsive to the Christie's Subpoena.

                          (3)      Dessaint hereby withdraws his request for the issuance of subpoenas to

Christie's employees, Karen Gray and Brooke Lampley.

                          (4)      Dessaint hereby withdraws his request for a deposition of Christie's,

without prejudice to its rights to renew such request in the event that Christie's fails to comply

with the Christie's Subpoena and/or the terms of this Stipulation and Order;


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                            (5)      The hearing on the Order to Show Cause scheduled for March 27 at 3:30

 p.m. is adjourned to April 11 at 11 :30 a.m.; and

                            (6)      Nothing contained herein nor actions taken to comply with this Stipu1ation

 and Order shall prejudice Applicant's or Christie's rights, claims or defenses in this proceeding

 or any other proceeding, inc1uding but not limited to the French Action.


 Dated: New York, New York 

        March 26, 2013 


                                                           SCHINDLER COHEN & HOCHMAN LLP


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so ORDERED, N.Y.,N.Y.
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   KIMBA M. WOOD
             U.S.D.J.                                      100 Wall Street, 15th Floor
                                                           New York, New York 10005
                                                           Tel. (212) 277-6300
                                                           Fax (212) 277-6333
                                                           E-mail: rfme@schlaw.com

                                                           Attorneys for Barthelemy Samuel Jean Dessaint


                                                           CHRC}'S, INC..                        .
                                                           By:      {£\AJl~::::-!f:,l~~
                                                                 Caroline Moustakis
                                                                 Vice President and Senior Counsel,
                                                                 Dispute Resolution
                                                                 Legal Department
                                                                 Christie's

                                                           20 Rockefeller Plaza
                                                           New York, New York 10020
                                                           Tel: (212) 636-2353
                                                           Fax: (212) 636-4947
                                                           E-mail: cmoustakis@christies.com




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